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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                                                       )
RICKY N. EAVES,                                        )
           Plaintiff                                   )
v.                                                     )
                                                       )
THE CITY OF WORCESTER, a                               )
Municipal corporation, WORCESTER                       )       Civil Action No. 12-CV-10336-TSH
CITY MANAGER MICHAEL V. O’BRIEN,                       )
WORCESTER CHIEF OF POLICE GARY                         )
J. GEMME, JESUS CANDELARIA, and                        )
THOMAS C. DUFFY,                                       )
              Defendants                               )


                   STIPULATION OF DISMISSAL (WITH PREJUDICE)

        Plaintiff, Ricky N. Eaves, and Defendants Michael V. O’Brien, Gary J. Gemme and Jesus

Candelaria, individually and in their official capacities, Thomas C. Duffy, in his official capacity,

and City of Worcester, hereby stipulate, pursuant to Fed. R. Civ. P. 41(a)(l)(A)(ii), that this case is

dismissed with prejudice, all rights of appeal waived, each party to bear its own costs and attorney’s

fees.


Plaintiff,                                             Defendants,
By his attorney,                                       By their attorneys,

                                                       David M. Moore,
                                                       City Solicitor

/s/ Hector E. Pineiro                                   /s/ Wendy L. Quinn
Hector E. Pineiro, Esq., BBO # 555315                  Wendy L. Quinn, BBO # 653954
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                                CERTIFICATE OF SERVICE

        I, Wendy L. Quinn, hereby certify that, on this 24th day of February, 2015, the within
Stipulation of Dismissal (With Prejudice) was served upon all counsel of record through this
Court’s electronic filing system as identified on the Notice of Electronic Filing.


                                                  /s/ Wendy L. Quinn
                                                  Wendy L. Quinn
                                                  Assistant City Solicitor
